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                                UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
21
      PATRICK CALHOUN, et al., on behalf of             Case No. 4:20-cv-05146-YGR-SVK
22    themselves and all others similarly situated,
                                                        GOOGLE     LLC’S   ADMINISTRATIVE
23           Plaintiffs,                                MOTION TO SEAL PORTIONS OF THE
                                                        AUGUST 11, 2022 HEARING TRANSCRIPT
24                                                      RE SANCTIONS
             v.
25                                                      Judge: Hon. Susan van Keulen, USMJ
      GOOGLE LLC,
26
             Defendant.
27

28
                                                                         Case No. 4:20-cv-05146-YGR-SVK
                                                        GOOGLE LLC’S ADMINISTRATIVE MOTION TO SEAL
                                                      PORTIONS OF AUGUST 11, 2022 HEARING TRANSCRIPT
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 1    I.    INTRODUCTION
 2          Pursuant to Civil Local Rules 7-11 and 79-5, Defendant Google LLC (“Google”)
 3 respectfully seeks to seal certain portions of the August 11, 2022 Hearing Transcript re: Sanctions

 4 (“Transcript”), which contains non-public, highly sensitive and confidential business information

 5 that could affect Google’s competitive standing and may expose Google to increased security risks

 6 if publicly disclosed, including details related to Google’s internal projects, internal databases, data

 7 signals, and logs, and their proprietary functionalities, as well as internal metrics. This information

 8 is highly confidential and should be protected.

 9          This Administrative Motion pertains to the following information contained in the
10 Transcript:

11    Document                    Portions to be Filed Under Seal                    Party Claiming
                                                                                     Confidentiality
12    August 11, 2022             Portions Highlighted in Blue at:                   Google
13    Hearing Transcript
                                  Pages 10:3, 11:25, 14:15, 17:7, 17:20, 26:16,
14                                28:8, 28:10, 29:8, 29:11-13, 30:10, 30:16-17,
                                  30:21-22, 32:1, 34:16, 43:11, 50:11-12, 50:21,
15                                53:23, 54:25, 57:18, 57:24, 58:1, 58:5, 59:5-6,
                                  59:9-10, 60:1, 60:17, 72:4-6, 72:12, 72:15-16,
16                                72:18, 74:19-23, 75:1, 75:5, 77:3, 77:13,
17                                80:17, 82:11-13, 85:12, 85:16, 85:18, 86:15,
                                  86:18-20, 88:20, 90:2, 93:15, 93:22-23, 94:8,
18                                94:17-18, 94:20, 94:22, 95:1, 95:4, 95:8-11,
                                  95:13-15, 95:17, 95:22, 96:4, 96:14-15, 97:5-
19                                8, 99:10, 101:2-3, 103:19-20, 103:22, 104:12-
                                  15, 104:17, 105:25, 106:22, 110:8-9. 110:11,
20
                                  110:18-22, 111:3-6, 111:8, 111:10, 112:15,
21                                112:17-18, 112:20-21, 113:9, 113:13, 113:19,
                                  114:2, 114:21, 114:25, 115:11, 118:10,
22                                119:17, 124:4, 136:12, 144:10, 144:18,
                                  144:22, 145:5, 146:4, 146:6, 146:8-10, 146:16,
23                                146:25, 149:25, 150:1-2, 152:18, 152:20,
                                  153:23, 154:11, 155:19, 156:5, 156:8, 156:10,
24
                                  156:13, 156:18-19, 157:14, 157:16, 157:21,
25                                158:2, 158:21, 159:24, 160:11, 163:21,
                                  167:14, 169:2-7, 170:16-18, 170:24, 173:22,
26                                175:12, 177:13, 177:19, 178:22, 179:6, 181:9,
                                  184:7-8, 184:12, 185:3, 189:11, 194:23-24,
27                                195:1-2, 195:4, 196:5, 196:10, 196:18, 199:6,
                                  199:16
28

                                                       1               Case No. 4:20-cv-05146-YGR-SVK
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 1    II.   LEGAL STANDARD

 2          The common law right of public access to judicial records in a civil case is not a
 3 constitutional right and it is “not absolute.” Nixon v. Warner Communications, Inc., 435 U.S. 589,

 4 598 (1978) (noting that the “right to inspect and copy judicial records is not absolute” and that

 5 “courts have refused to permit their files to serve as reservoirs of . . . sources of business information

 6 that might harm a litigant’s competitive standing”). Sealing is appropriate when the information at

 7 issue constitutes “competitively sensitive information,” such as “confidential research,

 8 development, or commercial information.” France Telecom S.A. v. Marvell Semiconductor Inc.,

 9 2014 WL 4965995, at *4 (N.D. Cal. Oct. 3, 2014); see also Phillips v. Gen. Motors Corp., 307 F.3d

10 1206, 1211 (9th Cir. 2002) (acknowledging courts’ “broad latitude” to “prevent disclosure of

11 materials for many types of information, including, but not limited to, trade secrets or other

12 confidential research, development, or commercial information”).

13 III.     THE ABOVE IDENTIFIED MATERIALS SHOULD ALL BE SEALED
14          Courts have repeatedly found it appropriate to seal documents that contain “business
15 information that might harm a litigant’s competitive standing.” Nixon v. Warner Commc'ns, Inc.,

16 435 U.S. 589, 589-99 (1978). Good cause to seal is shown when a party seeks to seal materials that

17 “contain[] confidential information about the operation of [the party’s] products and that public

18 disclosure could harm [the party] by disclosing confidential technical information.” Digital Reg of

19 Texas, LLC v. Adobe Sys., Inc., 2014 WL 6986068, at *1 (N.D. Cal. Dec. 10, 2014). Materials that

20 could harm a litigant’s competitive standing may be sealed even under the “compelling reasons”

21 standard. See e.g., Icon-IP Pty Ltd. v. Specialized Bicycle Components, Inc., 2015 WL 984121, at

22 *2 (N.D. Cal. Mar. 4, 2015) (information “is appropriately sealable under the ‘compelling reasons’

23 standard where that information could be used to the company’s competitive disadvantage”)

24 (citation omitted). Courts in this district have also determined that motions to seal may be granted

25 as to potential trade secrets. See, e.g. United Tactical Sys., LLC v. Real Action Paintball, Inc.,2015

26 WL 295584, at *3 (N.D. Cal. Jan. 21, 2015) (rejecting argument against sealing “that [the party]
27 ha[s] not shown that the substance of the information . . . amounts to a trade secret”).

28
                                                        2                Case No. 4:20-cv-05146-YGR-SVK
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 1          Here, the Transcript comprises confidential and proprietary information regarding highly

 2 sensitive features of Google’s internal systems and operations that Google does not share

 3 publicly. Specifically, this information provides details related to Google’s internal projects and

 4 data logging systems, and their proprietary functionalities, as well as internal metrics. Such

 5 information reveals Google’s internal strategies, system designs, and business practices for

 6 operating and maintaining many of its important services while complying with its legal and privacy

 7 obligations.

 8          Public disclosure of the above-listed information would harm Google’s competitive standing

 9 it has earned through years of innovation and careful deliberation, by revealing sensitive aspects of

10 Google’s proprietary systems, strategies, and designs to Google’s competitors. That alone is a proper

11 basis to seal such information. See, e.g., Free Range Content, Inc. v. Google Inc., No. 14-cv-02329-

12 BLF, Dkt. No. 192, at 3-9 (N.D. Cal. May 3, 2017) (granting Google’s motion to seal certain

13 sensitive business information related to Google’s processes and policies to ensure the integrity and

14 security of a different advertising system); Huawei Techs., Co. v. Samsung Elecs. Co., No. 3:16-cv-

15 02787-WHO, Dkt. No. 446, at 19 (N.D. Cal. Jan. 30, 2019) (sealing confidential sales data because

16 “disclosure would harm their competitive standing by giving competitors insight they do not have”);

17 Trotsky v. Travelers Indem. Co., 2013 WL 12116153, at *8 (W.D. Wash. May 8, 2013) (granting

18 motion to seal as to “internal research results that disclose statistical coding that is not publically

19 available”).

20          Moreover, if publicly disclosed, malicious actors may use such information to seek to

21 compromise Google’s data logging infrastructure. Google would be placed at an increased risk of

22 cyber security threats. See, e.g., In re Google Inc. Gmail Litig., 2013 WL 5366963, at *3 (N.D. Cal.

23 Sept. 25, 2013) (sealing “material concern[ing] how users’ interactions with the Gmail system

24 affects how messages are transmitted” because if made public, it “could lead to a breach in the

25 security of the Gmail system”). The security threat is an additional reason for this Court to seal the

26 identified information.
27          The information Google seeks to redact, including information related to Google’s internal

28 projects and data logging systems, and their proprietary functionalities, as well as internal metrics,
                                                    3                     Case No. 4:20-cv-05146-YGR-SVK
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 1 is the minimal amount of information needed to protect its internal systems and operations from

 2 being exposed to not only its competitors but also to nefarious actors who may improperly seek

 3 access to and disrupt these systems and operations. The “good cause” rather than the “compelling

 4 reasons” standard should apply but under either standard, Google’s sealing request is warranted.

 5   IV.   CONCLUSION

 6         For the foregoing reasons, the Court should seal the identified portions of Transcript.
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